         Case 19-12847-amc
 Fill in this information to identify the case:
                                               Doc        Filed 06/19/24 Entered 06/19/24 16:47:33                    Desc Main
                                                          Document      Page 1 of 3
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1               Pamela Fields aka Pamela Birckett-Fields
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                          Eastern
 United States Bankruptcy Court for the: ______________________              PA
                                                                District of __________
                                                                             (State)
 Case number                 19-12847-amc
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                             10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                   Carrington Mortgage Services, LLC                                         Court claim no. (if known):
 Name of creditor:                ______________________________________                                        12-1
                                                                                                             _________________
                                                                                        3 ____
                                                                                       ____ 7 ____
                                                                                               6 ____
                                                                                                   7
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                 7103 Montour Street
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                   Philadelphia, PA 19111
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

  
  x Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.

   Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date           $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

   Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:              ____/_____/______
                                                                                 MM / DD / YYYY

  
  x Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                     (a)     0.00
                                                                                                                              $ __________
                                                                                                                                $1,031.50
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                              + (b)   $ __________
                                                                                                                                (259.71) suspense
        c. Total. Add lines a and b.                                                                                    (c)     771.79
                                                                                                                              $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became               07   01    2024
                                                                                 ____/_____/______
        due on:                                                                  MM / DD / YYYY


Form 4100R                                                 Response to Notice of Final Cure Payment                                 page 1
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Debtor 1     Pamela   Fields aka Pamela Birckett-Fields
              _______________________________________________________                                                 19-12847-amc
                                                                                            Case number (if known) _____________________________________
              First Name      Middle Name               Last Name




 Part 4:     Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
   all payments received;
   all fees, costs, escrow, and expenses assessed to the mortgage; and
   all amounts the creditor contends remain unpaid.




 Part 5:     Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

   I am the creditor.
  
  x I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




             __________________________________________________
               /s/ Angela C. Pattison
                 Signature
                                                                                            Date      06 19 2024
                                                                                                     ____/_____/________




 Print            Angela C. Pattison
                 _________________________________________________________                  Title     Creditor's Counsel
                                                                                                     ___________________________________
                 First Name                      Middle Name         Last Name



                   Hill Wallack LLP
 Company         _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:


                   1415 Route 70 East, Suite 309
 Address         _________________________________________________________
                 Number                 Street


                 Cherry Hill, NJ 08034
                 ___________________________________________________
                 City                                                State       ZIP Code




 Contact phone     856 _____–
                 (______) 616 _________
                               8086                                                         Email ________________________
                                                                                                   apattison@hillwallak.com




Form 4100R                                                      Response to Notice of Final Cure Payment                                       page 2
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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                 (PHILADELPHIA)

 In re:                                              Chapter 13

 Pamela Fields aka Pamela Birckett-Fields            Case No.: 19-12847-amc

           Debtor


                                   CERTIFICATE OF SERVICE

          I certify under penalty of perjury that I served or caused to be served the above-captioned

pleading, Response to Notice of Final Cure, on the parties below via First-Class Mail and

Electronic Notification on June 20, 2024:

 Pamela Fields aka Pamela Birckett-Fields            Scott F. Waterman
 7103 Montour Street                                 2901 St. Lawrence Ave
 Philadelphia, PA 19111                              Suite 100
 Debtor                                              Reading, PA 19606
 Via Regular Mail                                    Chapter 13 Trustee
                                                     Via ECF
 Michael A. Cibik
 Cibik Law, P.C.                                     United States Trustee
 1500 Walnut Street                                  Office of the United States Trustee
 Suite 900                                           Robert N.C. Nix Federal Building
 Philadelphia, PA 19102                              900 Market Street, Suite 320
 Debtor’s Counsel                                    Philadelphia, PA 19107
 Via ECF                                             U.S. Trustee
                                                     Via ECF

                                                       By: /s/ Angela C. Pattison
                                                       Angela C. Pattison, Esq.,
                                                       Attorney ID 307611
                                                       Hill Wallack, LLP
                                                       1415 Route 70 East, Suite 309
                                                       Cherry Hill, NJ 08034
                                                       Telephone 856-616-8086
                                                       Facsimile 856-616-8081
                                                       Email: apattison@hillwallack.com
